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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

 Civil Action No. 1:22-CV-00477-PAB-MEH


 PARABLE, an unincorporated nonprofit association, on behalf of itself and its
 members, et al.,

       Plaintiffs,

 v.

 JENA GRISWOLD, in her official capacity as Secretary of State for the State of
 Colorado,

       Defendant.

           BRIEF OF AMICI CURIAE GOVERNOR POLIS AND
       ATTORNEY GENERAL WEISER IN SUPPORT OF DEFENDANT




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                                     INTRODUCTION

         Plaintiffs seek relief on behalf of a political party that did not choose to join the

 Plaintiffs’ suit. And the relief they seek is extraordinary. At each step of their

 argument, Plaintiffs ask this court to disregard the rights and choices of the State,

 the voters that approved the law, and Plaintiffs’ own political party.

         Under Supreme Court precedent, states may determine the nominating

 process for state offices. Ignoring this authority, Plaintiffs ask this court—without

 the guidance of any manageable legal standards—to force Colorado to facilitate the

 process that these Plaintiffs prefer. Under the U.S. Constitution, political parties

 have the right to choose whether to open or close their nomination process. The

 Colorado Republican Party did just that when it voted overwhelmingly to keep a semi-

 open primary rather than a closed assembly process. Plaintiffs now ask the Court to

 invalidate that choice. Finally, the people have a right under the Colorado

 Constitution to initiate laws governing the State and to manage the integrity of their

 elections. Yet Plaintiffs seek to override the will of the people and require the Court

 to rewrite a law approved by Colorado voters.

         The Court should reject Plaintiffs’ request for a preliminary injunction.

                                        ARGUMENT

    I.      Plaintiffs allege constitutional violations on behalf of a party that
            has not joined their case.

         The alleged right asserted by Plaintiffs here is an unusual one. Plaintiffs assert

 that their associational rights are violated when the political party to which they

 belong is “forced to associate with unaffiliated voters” in a semi-open primary. Doc.

                                               1
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 2-1, Plaintiffs’ Memorandum at 6. But Plaintiffs are not the Colorado Republican

 Party, and the Colorado Republican Party is not a party here. Rather, Plaintiffs are

 singular members of the Colorado Republican Party who happen to disagree with

 their party’s decision to hold a semi-open primary. 1

           Plaintiffs note that the Republican State Central Committee voted to authorize

 the “Republican Party of Colorado, its members, or both” to bring this lawsuit. Doc. 1,

 Complaint at ¶ 31. But only five individual members of the Colorado Republican

 Party are plaintiffs here; the Party itself is not. 2 Plaintiffs lack standing to bring their

 constitutional claims on behalf of a party that chose not to join their suit or file a

 separate action itself.

     II.      Plaintiffs’ alleged associational right would force Colorado to use
              state power contrary to Supreme Court precedent.

           Even if Plaintiffs had standing to raise their constitutional claims, Proposition

 108 does not compel political parties to associate with unaffiliated voters. Instead, it

 expressly allows parties to nominate candidates by a closed assembly or convention,

 thereby offering political parties the option to remove unaffiliated voters from this

 process. C.R.S. § 1-4-702(1). The right Plaintiffs seek is the right to force the State to

 use its election machinery—including all taxpayer-funded resources required to


 1 Colorado Matters: Colorado GOP chair on party’s priorities; Remembering Ron

 Miles, Colorado Public Radio (March 11, 2022) available at
 https://www.npr.org/podcasts/413443142/colorado-matters (statement at 20:32 by
 party chair: “that’s a lawsuit that [the] Colorado GOP is not involved in. The people
 bringing that are representing specific Republicans who share that viewpoint[.]”).

 2As of 2021, the Republican State Central Committee had 686 voting members. See
 Doc. 1, Complaint at 8.
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 support a statewide primary—in a manner contrary to that authorized by law in the

 state and approved by voters.

       Prior Supreme Court caselaw rejected the very argument Plaintiffs advance

 here. Though a party has the right to close its nominating contest, it has no

 concomitant right to require the State to conduct and pay for whatever type of

 nominating contest the party desires. California Democratic Party v. Jones, 530 U.S.

 567 (2000). In fact, the reverse is true. The Supreme Court acknowledged that

 “[s]tates have a major role to play in structuring and monitoring the election process,

 including primaries.” Id. at 572 (emphasis added). And the Court considered it “too

 plain for argument” that a state may choose the process a party uses to select its

 nominees. Id. (quotation omitted).

       The division of rights is clear. A state cannot require a party to keep its primary

 open, or to keep its primary closed. Id.; see also Tashjian v. Republican Party of

 Connecticut, 479 U.S. 208, 215-16 (1986). But when a political party engages in a

 state-run and state-financed election, the state acquires a “legitimate governmental

 interest in ensuring the fairness of the party’s nominating process, enabling it to

 prescribe what that process must be.” New York State Bd. of Elections v. Lopez Torres,

 552 U.S. 196, 202-03 (2008).

       That is what Colorado did here. In approving Proposition 108, Colorado voters

 allowed political parties to hold a semi-open primary election using the State’s voting

 machinery and taxpayer funds. And Proposition 108 offers the option for major

 political parties to bar unaffiliated voters from their nominating contests—by
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 allowing candidate selection via a “closed” assembly or convention should at least

 three-fourths of a party’s central committee members approve. C.R.S. § 1-4-702(1).

 Plaintiffs now seek a court order that would require the State to hold and pay for a

 closed    primary—a     candidate   selection   method     that   was   eliminated   by

 Proposition 108. There is no right to force the State to expend millions to hold the

 type of nominating contest that these Plaintiffs prefer.

    III.     Plaintiffs’ arguments would frustrate the State’s legitimate reasons
             to offer a semi-open primary and a closed caucus or assembly.

          While any conceivable nominating process “invariably impose[s] some burden

 upon individual voters and political parties,” these burdens “must necessarily

 accommodate a state’s legitimate interest in providing order, stability, and legitimacy

 to the electoral process.” Utah Republican Party v. Cox, 892 F.3d 1066, 1076 (10th

 Cir. 2018). Proposition 108 serves the State’s legitimate interests in the fairness and

 stability of Colorado’s nominating process.

          In approving Proposition 108, Colorado voters created the opportunity for all

 voters to participate fully in a publicly financed election. See App’x A, “An Analysis

 of 2016 Ballot Proposals,” LEGIS. COUNCIL OF THE COLO. GEN. ASSEM. at 66 (Sept. 12,

 2016) (“2016 Blue Book”). Prior to Proposition 108, unaffiliated voters—a significant

 portion of the Colorado electorate—could not help choose the candidates that

 appeared on the general election ballot. In some if not most elections, the primary

 election is more consequential than the general election in determining who holds

 public office. Consequently, prior to Proposition 108, unaffiliated voters in such

 elections had little to no meaningful participation in selecting their elected
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 representatives. Proposition 108 gives these unaffiliated voters a voice in the

 selection of candidates for public office if a political party chooses to hold a semi-open

 primary.

       The people of Colorado determined that Proposition 108’s balance—providing

 a semi-open primary, and a closed caucus or assembly—best served the State’s

 interest in the fairness of its nominating process. New York State Bd. of Elections,

 552 U.S. at 202 (states have a “legitimate governmental interest in ensuring the

 fairness of the party’s nominating process”). The choice to enfranchise unaffiliated

 voters in primary elections was made (in part) to grant “unaffiliated voters, who are

 Colorado taxpayers, the opportunity to vote in publicly financed primary elections.”

 App’x A, 2016 Bluebook at 66. The voters therefore decided to allow major parties to

 use state funds to host a primary only if a political party kept its primary semi-open

 to unaffiliated voters. Political parties may close their nominating processes if they

 so choose, but may not use the money of unaffiliated taxpayers to fund a statewide

 primary when they do so.

       The structure of Proposition 108’s opt-out provision also reinforces the order

 and stability of Colorado’s elections. The requirement that three-fourths of a major

 political party’s central committee endorse a change to restrict selection of candidates

 to party members in a closed assembly or convention is sensible, reasonable, and

 serves important priorities. If the opt-out threshold were easily crossed, a party might

 revert back and forth between nominating systems with the prevailing political

 winds. This in turn would cause primary elections to be less stable and lead to voter
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 confusion. Purcell v. Gonzalez, 549 U.S. 1, 4 (2006) (discussing risks of voter confusion

 based on pre-election changes to applicable rules). In any event, the threshold set by

 Proposition 108 would not have mattered to this case, as two-thirds of the Colorado

 Republican Party’s State Central Committee voted to reject a closed assembly or

 convention and instead keep a semi-open primary. 3 In short, the Colorado Republican

 Party would not have changed its nominating process for this election even if the

 threshold for change was a simple majority.

           States may not violate the associational rights of parties by requiring parties

 to include non-members in their nomination process. But if states provide the option

 for political parties to include or exclude non-members, states may structure their

 nominating process to promote legitimate public interests in electoral fairness and

 stability. That is what Colorado has done here.

     IV.      Plaintiffs’ argument would defy the will of the Colorado
              Republican Party.

           Proposition 108 allows political parties to choose whether to proceed with a

 semi-open primary that includes unaffiliated voters, or to select candidates via a

 closed assembly or convention. Plaintiffs imply that a political party must necessarily

 prefer a closed contest. But there are compelling reasons for political parties to

 include unaffiliated voters in their nominating contests. Here, the Colorado

 Republican Party overwhelmingly rejected the option to proceed via assembly or



 3Alex Burness, Millions will keep primary voting access as Colorado GOP rejects
 controversial opt-out plan, THE DENVER POST, Sept. 18, 2021,
 https://tinyurl.com/bderhprv (last visited March 12, 2022).
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 convention and will move forward with a semi-open primary election to select its

 candidates. 4 This choice was made using the reasonable processes established by

 Proposition 108. The Court should respect the Colorado Republican Party’s choice.

         There are good reasons for political parties to affirmatively choose an open or

 semi-open primary, and good reasons to disregard Plaintiffs’ suggestion that political

 parties fear disruption by unaffiliated voters. First, unaffiliated voters often hold a

 preference towards and are consistent voters for a particular political party. An

 overwhelming majority of unaffiliated voters—over eighty percent—lean toward

 either the Republican Party or the Democratic Party. See Pew Research Center,

 Political Independents: Who They Are, What They Think (March 14, 2019). 5 A political

 party might naturally wish to ensure that the candidate it selects is acceptable to

 these voters as well as to party members.

         More strategically, political parties may wish, for good reasons, to seek the

 views of unaffiliated voters in party primaries. This is especially so where, as in

 Colorado, unaffiliated voters are essential to winning any general election. Excluding

 unaffiliated voters from a primary, as some Republican Party leaders have noted, 6



 4 Id.


 5 Available at https://www.pewresearch.org/politics/2019/03/14/political-

 independents-who-they-are-what-they-think.

 6 As former Republican State Treasurer noted in, “Colorado Republicans are flirting

 with political suicide . . . We can’t win elections without attracting unaffiliated voters,
 whom Democrats shrewdly embrace. If Republicans shun them, our party—and
 candidates—will become irrelevant.” Mark Hillman, Opinion, “The Podium: GOP
 Can’t Afford to Shun UAV, Colorado Politics (Aug. 18, 2021), available at
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 threatens to harm the electoral prospects of a political party’s candidate.

 Consequently, political parties selecting the process that determines the candidates

 on the ballot will need to consider carefully whether they opt for a candidate whose

 views are more responsive to the views of the majority than a candidate voted on only

 by those who choose to affiliate with a political party.

       Plaintiffs raise the specter of so-called “party raiding”—that is, where

 partisans from one political party tactically vote in another party’s elections—as a

 risk a political party assumes when participating in an open or semi-open primary.

 Though these concerns are sometimes highlighted by advocates, see Doc. 2-1 at 6,

 “party raiding” more often haunts arguments in court than polling places. Neither

 courts nor recent literature have found actual evidence of this sort of voting behavior.

 See, e.g., Rick Rojas, There’s No G.O.P. Primary in South Carolina. Some Republicans

 Will Vote Anyway, N.Y. TIMES (Feb. 25, 2020) (noting that “evidence of [party raiding]

 efforts achieving any sort of significant influence is hard to find.”); 7 John Johnson, Do

 Primary Voters Strategically Vote in the Opposition’s Primary?, MARQUETTE UNIV.

 LAW SCH. FACULTY BLOG (Feb. 20, 2019) (in study of Wisconsin’s open primaries,

 “there is no evidence that this kind of voting behavior occurs at all[.]”); 8 see also

 Tashjian, 479 U.S. at 219 n.9 (noting that a study commissioned by the national


 https://www.coloradopolitics.com/opinion/the-podium-gop-cant-afford-to-shun-the-
 uav/article_999fc10a-ffd1-11eb-86df-5b0b2f142aa3.html.

 7Available at https://www.nytimes.com/2020/02/25/us/south-carolina-primary-
 operation-chaos.html?smid=tw-nytimes&smtyp=cur.

 8Available at https://law.marquette.edu/facultyblog/2019/02/do-primary-voters-
 strategically-vote-in-the-oppositions-primary.
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  Democratic Party “concluded that the existence of ‘raiding’ has never been

  conclusively proven by survey research” (cleaned up)). The Court should reject these

  arguments as unsupported.

          There are compelling reasons for a party to prefer open or semi-open primaries.

  The Colorado Republican Party opted to keep its nominating contest semi-open. The

  Court should respect that choice.

     V.      The remedy sought by Plaintiffs would re-write Proposition 108
             and cause confusion and chaos.

          Finally, the remedy that Plaintiffs seek is unlawful. They do not seek to simply

  invalidate Proposition 108. Instead, they ask the Court to re-write it: by including an

  option for any major political party “to notify the Secretary of State by April 14, 2022,

  that they wish to prohibit unaffiliated electors from voting in their primary elections.”

  Doc. 2-1, Plaintiffs’ Memorandum at 16. This so-called remedy is both legally

  inappropriate and practically unworkable. It risks injecting confusion and chaos into

  Colorado’s candidate selection process.

          First, the option of a closed, taxpayer-financed and government-supervised

  primary for major parties was never approved by the electorate. In fact, it was

  eliminated as an option as soon as Proposition 108 took effect. When a statute is

  unconstitutional, neither plaintiffs nor courts may rewrite the statute in the way they

  prefer to avoid the perceived constitutional infirmity. E.g., Nasrallah v. Barr, 140 S.

  Ct. 1683, 1692 (2020) (“[I]t it is not the proper role of the courts to rewrite the

  laws[.]”); Jennings v. Rodriguez, 138 S. Ct. 830, 836 (2018) (noting that a court “must

  interpret the statute, not rewrite it”). This rule is particularly important in election
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  law, where “[w]ith uncertain limits, intervening courts—even when proceeding with

  best intentions—[] risk assuming political, not legal, responsibility for a process that

  often produces ill will and distrust.” Vieth v. Jubelirer, 541 U.S. 267, 307 (2004)

  (Kennedy, J., concurring).

        Yet that is what Plaintiffs seek to do here, by asking the Court to craft a new

  law, offering major political parties the option to choose closed primaries. In so doing,

  Plaintiffs ask the Court to nullify the voters’ will and for the Court to insert its own

  alternative nominating process. This proposed remedy disregards both the will of the

  voters in passing Proposition 108 and the role of the Court in interpreting it.

        Plaintiffs’ “remedy” is also unworkable. Plaintiffs seek a court order that the

  State must hold a closed primary if a party so chooses. The details, however, are left

  unsaid. Who in the party decides whether the primary should be closed—some of its

  members (but which ones?), its central committee, or some other body? How will the

  decision be made—by vote, or by some other method? If by vote, what percentage of

  members must vote for a closed primary? Where and when would such a vote take

  place, and how would the party ensure that its members were appropriately notified?

  And if the party does not vote for a closed primary, does the nominating contest

  default to a semi-open primary, an assembly, or a convention?

        Each of these questions highlights that Plaintiffs ask the Court to rewrite the

  text of Proposition 108—and fill in the blanks itself. And were the Court not to fill in

  these details (which it cannot do), the primary election would be thrown into chaos

  only months before the Colorado primaries, resulting in serial and piecemeal
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  litigation for which there is no hope of a quick resolution consistent with an orderly

  primary and general election that would guarantee a republican form of government

  under Article IV Section Four of the United States Constitution. A change to

  Colorado’s election laws that would at the very least cause this inevitable chaos would

  itself violate the Supreme Court’s rule against changes that would cause “judicially

  created confusion” in an upcoming election. Republican Nat’l Comm. v. Democratic

  Nat’l Comm., 140 S. Ct. 1205, 1207 (2020) (citing Purcell, 549 U.S. at 4). The Court

  should decline Plaintiffs’ invitation to make such changes here.

                                     CONCLUSION

        Amici Governor Jared Polis and Attorney General Philip J. Weiser respectfully

  urge the Court to reject Plaintiffs’ motion for a preliminary injunction.
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  Dated March 14, 2022.

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                            CERTIFICATE OF SERVICE

        I certify that on March 14, 2022, this document was filed with the Clerk of

  the Court, using the CM/ECF system, causing it to be served on all counsel of

  record.


  Dated: March 14, 2022                 Respectfully submitted,

                                        /s/ Abigail M. Hinchcliff
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